
PER CURIAM.
This is a motion to dismiss an appeal taken from an order made by the superior court vacating and setting aside a judgment that had been rendered in favor of plaintiff. From the affidavits and the certificate *191of the clerk it appears that the appeal was perfected on the third day of December, 1903, and that the bill of exceptions to be used on said appeal was settled by the judge who made the order on the eleventh day of December, 1903, and on the same day filed in the office of said clerk. It further appears from the certificate of the clerk that said clerk has never been requested to certify to the correctness of any transcript on appeal, and no such transcript has been filed in this court. It further appears that no extension of time to file such transcript has been granted.
It is ordered that the appeal be dismissed.
